Case 2:12-cv-02978-STA-tmp Document 36 Filed 02/14/14 Page 1 of 2                PageID 270




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION AT MEMPHIS


   CHARLINE FLYNN, as Personal
   Representative of the Probate Estate
   of Errol Flynn, derivatively
   on behalf of nominal defendant,
   ESF CONSTRUCTION CO., INC.

          Plaintiffs,

   v.                                                        No. 2:12-cv-02978-STA-tmp

   MARTIN S. BELZ and
   JIMMIE WILLIAMS,

          Defendants,

   and

   ESF CONSTRUCTIONS CO., INC.

          Nominal Defendant.



              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


          COME NOW, the Parties, by and through respective counsel of record, and

   pursuant to Rule 41(a) of the Federal Rules of Civil Procedure stipulate that the above

   entitled action may be dismissed with prejudice.
Case 2:12-cv-02978-STA-tmp Document 36 Filed 02/14/14 Page 2 of 2       PageID 271




                                      Respectfully submitted,

                                      GLASSMAN, EDWARDS,
                                      WYATT, TUTTLE & COX, P.C.


                                By:   /s/ Jonathan Stokes
                                      RICHARD GLASSMAN (#7815)
                                      JONATHAN STOKES (#29416)
                                      26 North Second Street Building
                                      Memphis, TN 38103-2602
                                      (901) 527-4673 - Telephone
                                      (901) 521-0940 – Facsimile
                                      rglassman@gewwlaw.com
                                      jstokes@gewwlaw.com
                                      Our File: 12-430

                                      Attorneys for Defendant Martin S. Belz
                                      and Defendant Jimmie Williams


                                      /s/ Paul Billings
                                      PAUL B. BILLINGS, Jr. (#010906)
                                      Paul Billings Law
                                      5305 Distriplex Farms Drive
                                      Memphis, TN 38141-8231
                                      (901) 881-9515 phone
                                      (866) 772-4244 fax
                                      paul@paulbillingslaw.com

                                      Attorney for Plaintiffs




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